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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION




 UNITED STATES OF AMERICA,                  :
                                            :
                                            :
 v.                                         :
                                            :           CIVIL ACTION NO.
                                            :           1:19-CR-442-LMM-RGV-1
 TIMOTHY O’NEAL,                            :
                                            :
                                            :
           Defendant.                       :
                                            :

                                        ORDER

           This case comes before the Court on the Magistrate Judge’s Report and

Recommendation (“R&R”) [37]. Pursuant to 28 U.S.C. § 636(b)(1), Defendant

filed objections to the R&R [40]. The facts and procedural history of this case are

set forth in the R&R and are fully incorporated herein by reference. After due

consideration, the Court enters the following Order.

      I.      LEGAL STANDARD

           Under 28 U.S.C. § 636(b)(1), the Court reviews the Magistrate’s R&R for

clear error if no objections are filed. 28 U.S.C. § 636(b)(1). If a party files

objections, however, the district court must determine de novo any part of the

Magistrate Judge’s disposition that is the subject of a proper objection. Id.; Fed.

R. Crim. P. 59(b)(3). As Defendant filed objections to the R&R, the Court reviews
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the Magistrate Judge’s findings and recommendations regarding these

conclusions on a de novo basis. 28 U.S.C. § 636(b)(1).

   II.      DISCUSSION

         Defendant objects to the Magistrate Judge’s denial of Defendant’s Motion

to Dismiss Count Two. Specifically, Defendant objects to the Magistrate Judge’s

conclusion that assault on a federal officer in violation of 18 U.S.C. § 111(b)

qualifies as a crime of violence under 18 U.S.C § 924 (c). At the same time,

Defendant acknowledges that this Court is bound by the precedent set in United

States v. Bates, 960 F.3d 1278 (11th Cir. 2020). As Bates controls this issue,

Defendant’s objection is without merit.

   III.     CONCLUSION

         In light of the foregoing, Defendant’s objections [40] are OVERRULED

and the Court ADOPTS the Magistrate Judge’s R&R [37] as the opinion of this

Court. The Motion to Dismiss [16] is DENIED.

         The trial in this action is hereby set to begin on Tuesday, April 27, 2021

at 9:30 A.M. in Courtroom 2107. The pretrial conference will be held on

Tuesday, April 20, 2021 at 10:00 A.M. in Courtroom 2107. By noon on

Tuesday, April 6, 2021, the parties are to file the following: motions in limine

and proposed voir dire questions. By noon on Tuesday, April 6, 2021, the

Government must file a brief summary of the indictment that the parties can rely

on for voir dire. By noon on Tuesday, April 13, 2021, the parties are to file




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responses to motions in limine and any objections and to those items listed

above.

      Excludable time is allowed through April 27, 2021, pursuant to 18 U.S.C.

§ 3161 (h)(7)(A) and (B)(iv), to give counsel for Defendant and the Government

the reasonable time necessary for effective preparation, taking into account the

exercise of due diligence. The Court finds that the ends of justice served outweigh

the best interest of the public and the Defendant in a speedy trial and are

consistent with both the best interest of the public and individual justice in this

matter.

                            29th day of October, 2020.
      IT IS SO ORDERED this ____

                                       _____________________________
                                       Leigh Martin May
                                       United States District Judge




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